     Case 1:23-mj-04293-DHH Document 13 Filed 04/19/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )       No. 1:23-mj-04293
                                              )
JACK DOUGLAS TEIXEIRA                         )
                                              )

    ASSENTED-TO MOTION FOR CONTINUANCE OF DETENTION HEARING

       Now comes the defendant Jack Douglas Teixeira with the assent of the government

and moves this Honorable Court to continue the detention hearing scheduled for April 19,

2023 for approximately two weeks to a date convenient to the Court and parties. In support

thereof, the defense requires more time to address the issues presented by the government’s

request for detention.


                                                           Respectfully submitted,

                                                           /s/ Brendan Kelley
                                                           Brendan Kelley
                                                           Assistant Federal Defender
                                                           Federal Public Defender Office
                                                           51 Sleeper Street, 5th Floor
                                                           Boston, MA 02210
                                                           Tel: 617-223-8061


                              CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on April 18, 2023.

                                                      /s/ Brendan Kelley
                                                      Brendan Kelley
